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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

DAVID KREBSBACH,                                      )
                                                      )
                        Plaintiff,                    )
                                                      )
v.                                                    )
                                                                CIVIL ACTION FILE NO.
                                                      )
                                                                 1:19-CV-01023-STA-egb
SNAP-ON CREDIT, LLC,                                  )
                                                      )
                        Defendant.                    )


                                     NOTICE OF SETTLEMENT

          COMES NOW defendant, Snap-on Credit, LLC ("Defendant"), by and through its

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached as to all claims of plaintiff David Krebsbach against Defendant.

          Defendant, therefore, requests that this Honorable Court provide the parties 60 days to

file the necessary dismissal papers.

          Respectfully submitted this 7th day of March, 2019.


                                              /s/ Alan D. Leeth
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing, or, if the party served does not participate in Notice of Electronic Filing, by
U.S. First Class Mail, hand delivery, fax or email on this the 7th day of March, 2019:

                                     Frank H. Kerney, III
                                Morgan & Morgan, Tampa, P.A.
                                    One Tampa City Center
                                201 N. Franklin Street, 7th Floor
                                      Tampa, FL 33602



                                             s/ Alan D. Leeth
                                             OF COUNSEL




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